
481 N.W.2d 225 (1992)
In the Matter of the Application for DISCIPLINARY ACTION AGAINST Kent L. JOHNSON, a Member of the Bar of the State of North Dakota.
DISCIPLINARY BOARD OF the SUPREME COURT OF the STATE OF NORTH DAKOTA, Petitioner,
v.
Kent L. JOHNSON, Respondent.
No. 920029.
Supreme Court of North Dakota.
February 12, 1992.


*226 ORDER OF DISBARMENT
On February 5, 1992, the Disciplinary Board of the Supreme Court submitted to the Supreme Court its Report adopting the Report of the Hearing Panel, as amended, and the Findings and Recommendations of the Hearing Panel to accept the Stipulation of disbarment of Kent L. Johnson and the provision requiring full restitution and payment of disciplinary costs prior to the filing of any petition for reinstatement.
Prior to formal hearing on October 23, 1991, before a Hearing Panel of the Disciplinary Board, a Stipulation which included an agreement to disbarment with certain conditions, payment of restitution to Jacqueline Larmay, Anthony Long, Mark Olson and Cynthia Bossert, and payment of costs and expenses of the disciplinary proceedings was dictated into the record and agreed upon by the parties.
After hearing, the Panel found that Kent L. Johnson, who was admitted to the Bar of the State of North Dakota on July 24, 1974, and suspended on an interim basis by the North Dakota Supreme Court on April 29, 1991, violated provisions of the Rules of Professional Conduct and the Code of Professional Responsibility requiring a lawyer to preserve and safekeep a client's funds; to act with reasonable diligence and promptness in representing a client; to refrain from engaging in conduct involving fraud, deceit or misrepresentation; to make reasonable efforts to keep a client informed; and to refrain from entering into a business transaction with a client that was not fair and reasonable to the client.
The Panel recommended that the Stipulation contained in the record be adopted; that pursuant to the Stipulation that Kent L. Johnson be disbarred from the practice of law and be required to make such restitution and pay such costs as are included in the Stipulation; and that any motion for reinstatement shall be preceded by complete payment of restitution and costs.
At a regularly scheduled meeting held on January 17, 1992, the Disciplinary Board amended the Stipulation to correct clerical errors, at the request of both parties, and unanimously adopted the Findings and Recommendations of the Hearing Panel.
The Court considered the matter, and
IT IS HEREBY ORDERED, that the Stipulation and Report of the Disciplinary Board be accepted, subject to the addition of the phrase, "after public hearing" at the end of condition one of the Stipulation, which states: "During the period of disbarment Johnson shall not function in any capacity in a legal office, including that of legal assistant, clerk, etc., without the prior approval of the North Dakota Supreme Court."; and that Kent L. Johnson be disbarred from the practice of law in the State of North Dakota effective immediately.
   /s/ Ralph J. Erickstad
   Ralph J. Erickstad,
   Chief Justice
   /s/ Gerald W. VandeWalle
   Gerald W. VandeWalle,
   Justice
   /s/ Herbert L. Meschke
   Herbert L. Meschke,
   Justice
   /s/ Beryl J. Levine
   Beryl J. Levine,
   Justice
